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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

CHARLES E. HAMNER, ADC #143063                                          PLAINTIFF

v.                         NO. 5:17CV00079 JLH/BD

DANNY BURLS, et al.                                                  DEFENDANTS


BRIEF IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                                I.    Introduction

      Plaintiff Charles E. Hamner, ADC #143063 (“Plaintiff”), an inmate currently

housed at the Varner Supermax unit of the Arkansas Department of Correction

(“ADC”), filed this action pursuant to 42 U.S.C. § 1983, alleging Defendants violated

his due process rights, failed to follow ADC policy, and retaliated against him for

filing grievances in relation to his confinement in administrative segregation for a

period of approximately seven (7) months in 2015. Plaintiff brings suit against

current and former ADC employees Danny Burls, Connie Jenkins, Maurice

Williams, Steve Outlaw, and Marvin Evans (the “ADC Defendants”) in their

individual capacities only. Each of the ADC Defendants were members of the

“Classification Committee” which made determinations related to Plaintiff’s

confinement in administrative segregation. Plaintiff requests compensatory and

punitive damages, as well as a “declaration that the acts and omissions” of the ADC

Defendants “violated plaintiff’s rights under the constitution and laws of the United

States.”




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       In its Order of May 4, 2017 (DE 6), the Court dismissed with prejudice all but

Plaintiff’s   retaliation   claim.   The   Order   adopted   the   magistrate’s   Partial

Recommended Disposition (DE 4), which found that Plaintiff’s confinement in

administrative segregation did not constitute the deprivation of a protected liberty

interest. Because Plaintiff has failed to state a claim for relief, and because the

ADC Defendants are prison officials who are entitled to qualified immunity,

Plaintiff’s Complaint against them should be dismissed.

                               II.    Standard of Review

       Rule 12(b)(6) of the Federal Rules of Civil Procedure provides that a motion

to dismiss should be granted in favor of Defendants on Plaintiff’s claims if Plaintiff

“fail[s] to state a claim upon which relief can be granted.” A complaint should be

dismissed for failure to state a claim if it appears beyond a doubt that the plaintiff’s

complaint can prove no set of facts to support the plaintiff’s purported cause of

action. Schaller Tel. Co. v. Golden Sky Sys., Inc., 298 F.3d 736, 740 (8th Cir. 2002).

In determining whether to dismiss this Complaint under Rule 12(b)(6), the Court

will assume the facts alleged in the Complaint are correct and will draw reasonable

inferences from the facts in favor of the allegations in the Complaint. See Turner v.

Holbrook, 278 F.3d 754, 757 (8th Cir. 2002); In re Navarre Corp. Sec. Litig., 299

F.3d 735, 738 (8th Cir. 2002).

       Dismissal under Rule 12(b)(6) operates to eliminate actions that are fatally

flawed in their legal premises and designed to fail, thereby sparing litigants the

burden of unnecessary pretrial and trial activity. Neitzke v. Williams, 490 U.S. 319,



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326-27 (1989). To avoid dismissal, a complaint must allege facts sufficient to state a

claim as a matter of law and not merely legal conclusions. Springdale Educ. Ass’n

v. Springdale Sch. Dist., 133 F.3d 649, 651 (8th Cir. 1998).      Legal conclusions,

unsupported conclusions, and unwarranted inferences must be ignored and fail to

withstand a Rule 12(b)(6) motion. See Farm Credit Svcs. v. American State Bank,

339 F.3d 764, 767 (8th Cir. 2003).

      Because Plaintiff can present no set of facts that would entitle him to relief

against the ADC Defendants, his complaint should be dismissed with prejudice.

Specifically, Plaintiff’s Complaint must be dismissed because the ADC Defendants

are entitled to qualified immunity in their individual capacities, and Plaintiff can

prove no set of facts demonstrating that the ADC Defendants violated a right to

which Plaintiff was constitutionally or statutorily entitled.

                                     III.   Facts

      According to Plaintiff’s Complaint, on March 26, 2015, Plaintiff was taken

from the Maximum Security Unit to the ADC Central Office to take a voice stress

analysis test concerning confidential information he provided to security related to a

planned attack by another inmate against a prison guard. (DE 2, p. 4). According to

Plaintiff, the information he provided helped prevent a brutal assault on the prison

security officer. Upon being returned to the Maximum Security Unit, Plaintiff was

placed in administrative segregation, (DE 2, p. 4), where he remained until his

transfer to the Tucker Unit on October 15, 2015. The documents attached to

Plaintiff’s Complaint establish that ADC Defendants recommended Plaintiff remain



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in segregation due to security concerns related to a threat against the Plaintiff (DE

2, Ex. I, p. 60).

          Between April 10, 2015 and August 31, 2015, Plaintiff filed a total of nine (9)

grievances related to his classification status/administrative segregation alleging

various failures of the ADC Defendants in following ADC policy (DE 2, Exhibits A –

I, pp. 29-62). Specifically, Plaintiff filed the following grievances, all of which are

attached to Plaintiff’s Complaint:


DATE       EXHIBIT    GRIEVANCE                        SUMMARY OF COMPLAINT
                         NO.
4/10/15        A      MX-15-00989    Placed in administrative segregation without following proper
                                     protocol; not seen by Classification Committee on 4/1/15; did not
                                     receive 72 hour probable cause hearing

4/16/15        B       MX-15-01029   ADC staff falsified state documents

5/18/15        C       MX-15-01308   ADC staff did not follow policy re: administrative segregation
                                     procedures; ADC staff did not complete forms

5/27/15        D       MX-15-01407   ADC Classification Committee did not follow policy in filling out 7-
                                     day review form correctly

6/7/15         E       MX-15-01501   ADC Classification Committee voted to approve continued
                                     administrative segregation but failed to give a reason on the 843-0
                                     form as to why administrative segregation is continued

6/2/15         F       MX-15-01455   Same as MX-15-01501

6/16/15        G       MX-15-01570   ADC Classification Committee failed to follow procedure re: 60-day
                                     review of administrative segregation; inmate not allowed to appear
                                     at 60-day review; no reason listed on 843-0 for continued status

8/25/15        H       MX-15-02241   Questions ADC Classification Committee’s explanation as to why
                                     inmate is being held in administrative segregation

8/31/15        I       MX-15-02281   ADC Classification Committee voted to approve continued
                                     administrative segregation but failed to give a reason on the 843-0
                                     form as to why administrative segregation is continued




          At no point did Plaintiff make any allegation of retaliation in any of the nine

(9) grievances he filed during his confinement in administrative segregation and


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prior to his transfer on October 15, 2015. All of the nine (9) grievances filed by

Plaintiff were found to be without merit and were denied. (DE 2, Exhibits A – I, pp.

29-62).

                               IV.    Law and Analysis

       Plaintiff can present no set of facts that would entitle him to relief against

ADC Defendants, and therefore, his Complaint should be dismissed with prejudice.

       A.     ADC Defendants are Entitled to Qualified Immunity in their
              Individual Capacities as to Plaintiff’s Retaliation Claim

       Qualified immunity shields governmental employees acting within the scope

of their duties from suit for money damages so long as their conduct does not

“violate clearly established statutory or constitutional rights of which a reasonable

person would know.” Harlow v. Fitzgerald, 457 U.S. 800, 818, (1982). Qualified

immunity is designed to protect from damage liability “all but the plainly

incompetent or those who knowingly violate the law.” Malley v. Briggs, 475 U.S.

800, 818 (1982). Because qualified immunity is “an immunity from suit rather than

a mere defense to liability . . . it is effectively lost if a case is erroneously permitted

to go to trial.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)(emphasis deleted). The

Supreme Court has made clear that the “driving force” behind the creation of the

qualified immunity doctrine was a desire to ensure that “insubstantial claims

against government officials [will] be resolved prior to discovery.” Anderson v.

Creighton, 483 U.S. 635, 640, n. 2 (1987)(internal quotation omitted). Accordingly,

the Court “repeatedly ha[s] stressed the importance of resolving immunity




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questions at the earliest possible state in litigation.” Hunter v. Bryant, 502 U.S. 224,

227 (1991)(per curiam).

      Two questions guide the determination of whether a defendant is entitled to

qualified immunity:       (1) whether the plaintiff has shown the violation of a

constitutional right, and (2) whether that right was clearly established at the time

of the alleged misconduct. See Pearson v. Callahan, 555 U.S. 223, 129 S.Ct. 808,

815-16 (2009) (noting the two-step inquiry for resolving qualified immunity claims

mandated by Saucier v. Katz, 533 U.S. 194, 121 S.Ct. 2151 (2001), and holding that

courts may exercise sound discretion in deciding which of the two prongs should be

addressed first).

       The first question in deciding whether an official is entitled to qualified

immunity is whether he violated a federal right at all. Coonts v. Potts, 316 F.3d

745, 750 (8th Cir. 2003).     Defendants acknowledge that an inmate has a First

Amendment right to be free from retaliation for utilizing a prison grievance

procedure. To prevail on his retaliation claim, Plaintiff must show 1) he engaged in

a protected expression, 2) he suffered an adverse action, and 3) the adverse action

was causally related to the protected expression. Solomon v. Petray, 795 F.3d 777,

786–87 (8th Cir. 2015). Plaintiff’s filing grievances admittedly constitutes protected

expression under a First Amendment retaliation analysis; however, the Plaintiff’s

retaliation claim clearly fails on the second and third prongs.

      Concerning the third prong, Plaintiff’s Complaint fails to allege facts

demonstrating a causal connection between his confinement in administrative



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segregation and his filing of grievances. Plaintiff offers nothing more than

speculative and conclusory allegations that his confinement in administrative

segregation was the result of a retaliatory motive on the part of ADC Defendants.

This is not enough. (“mere speculative or conclusory allegations are insufficient to

establish a retaliation claim,” Cooper v. Schriro, 189 F.3d 781, 784 (8th Cir. 1999)).

None of the nine (9) grievances the Plaintiff filed while in administrative

segregation raises or even suggests a claim of retaliation. (DE 2, Exhibits A – I, pp.

29-62). Yet in his Complaint, Plaintiff for the first time indicates he “feels the

defendants retaliated on him and used the excessive delay before transferring him

to another institution because of his use of the inmate grievance procedure. Nothing

else could justify such a lengthy delay.” (DE 2, pp. 14-15).

      The documents attached to Plaintiff’s Complaint provide ample explanation

for why Plaintiff remained in administrative segregation. Plaintiff’s Complaint

indicates that: 1) Plaintiff was placed in administrative segregation 19 days prior to

the time he ever filed an initial grievance concerning his classification (DE 2, Ex. A,

p. 29); 2) ADC Defendants afforded Plaintiff regular review before the Classification

Committee pursuant to policy and procedure (DE 2, Ex. F, p. 50); 3) Plaintiff failed

to appear for his 60-day classification review on June 10, 2015 (DE 2, Ex. G, p. 55);

and 4) ADC Defendants recommended Plaintiff remain in segregation due to

security concerns related to a threat against the Plaintiff (DE 2, Ex. I, p. 60).

      In stark contrast, Plaintiff’s Complaint offers no factual allegations to

support a retaliatory motive beyond speculative and conclusory statements.



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      Going back to the second prong, Plaintiff did not suffer an adverse action

giving rise to an actionable claim. Plaintiff was placed in administrative segregation

for his own protection following threats against him by other inmates. (DE 2, Ex. I,

p. 60). Further, it is well settled law that placement in administrative segregation

for a limited time, even without cause, is not itself an atypical and significant

hardship. Orr v. Larkins, 610 F.3d 1032, 1034 (8th Cir. 2010); Phillips, 320 F.3d at

847. Periods of segregation significantly longer than Plaintiff’s are not considered

atypical and significant hardships. Orr, 610 F.3d at 1034 (inmate was not deprived

of liberty interest during nine months in administrative segregation).

      B.       Plaintiff’s Claim for Declaratory Relief Against ADC
               Defendants in their Individual Capacity Should be Dismissed

      Beyond Plaintiff’s prayer for compensatory and punitive damages, Plaintiff

also asks the Court for a “declaration that the acts and omissions” of the ADC

Defendants “violated plaintiff’s rights under the constitution and laws of the United

States.”    Plaintiff fails to state a claim upon which such relief can be granted.

Plaintiff’s Complaint fails to allege facts demonstrating an ongoing violation of

federal law by the ADC Defendants such that declaratory relief against them in

their individual capacities is warranted.

      Furthermore, Plaintiff’s claim for declaratory relief is moot.      The events

giving rise to the allegations in the Complaint occurred while Plaintiff was confined

at the Maximum Security Unit at Tucker, Arkansas. As evidenced by Plaintiff’s

Complaint (DE 2, p. 3), Plaintiff’s place of present confinement is Varner Supermax

at Grady, Arkansas.


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      The question for determining whether a request for declaratory relief has

become moot is whether the facts alleged show a substantial controversy of

“sufficient immediacy and reality to warrant the issuance of a declaratory

judgment.” Preiser v. Newkirk, 422 U.S. 395, 402, 95 S.Ct. 2330, 45 L.Ed.2d 272

(1975). In Martin v. Sargent, 780 F.2d 1334 (8th Cir.1985), the plaintiff inmate

sought injunctive and declaratory relief related to conditions at the Cummins Unit.

Plaintiff was moved to the Wrightsville Unit while the case was pending. The

Eighth Circuit found that the claims for injunctive and declaratory relief were moot

because the plaintiff was no longer subject to the claimed conditions. Martin, 780

F.2d at 1337 (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983)(“The

equitable remedy is unavailable absent a showing of irreparable injury, a

requirement that cannot be met where there is no showing of any real or immediate

threat that the plaintiff will be wronged again…”).

      C.     This Case Should Be Dismissed and the Dismissal Counted as a
             Strike.

      The Prison Litigation Reform Act (“PLRA”) contains what is commonly

referred to as the “three strikes” provision, codified at 29 U.S.C. § 1915(g). This

provision effectively bars a prisoner from filing a civil action or appealing a

judgment in a civil action in forma pauperis if, on three or more prior occasions, he

filed an action or appeal that was dismissed on the grounds that it was frivolous,

malicious, or failed to state a claim. See 28 U.S.C. § 1915(g).




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      This case falls squarely within the provisions of § 1915(g) as it fails to state a

claim upon which relief can be granted. Therefore, this Court should grant a strike

against Plaintiff.

                                 III.   Conclusion

      For the foregoing reasons, ADC Defendants respectfully requests that that

this Court dismiss Plaintiff’s Complaint against them, and all other relief that is

just and proper.

                                               Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I, William C. Bird, Assistant Attorney General, do hereby certify that on
June 30, 2017, I electronically filed the forgoing with the Clerk of the Court using
the CM/ECF system.

     I, William C. Bird, hereby certify that on June 30, 2017, I mailed this
document by U.S. Postal Service to the following non CM/ECF participant:

      Mr. Charles Hamner, ADC #143063
      Varner Supermax
      Arkansas Department of Correction
      P.O. Box 400
      Grady, Arkansas 71644-0600

                                                   /s/ William C. Bird III
                                                   William C. Bird III




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